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15
                                  UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
17
   JOHN DOE, JOHN DOE II, JOHN DOE III,                Lead Case No. 3:23-cv-02865-EMC
18 JANE DOE, JANE DOE II, JANE DOE III,
   JANE DOE IV, JANE DOE V, and ALEXIS                 JOINT STATUS REPORT
19
   SUTTER, Individually and on behalf of all
20 others similarly situated,                          Judge:   Hon. Edward Chen
                                                       Date:    February 11, 2025
21                Plaintiffs,                          Time:    4:00 p.m.
22           v.
                                                       District Judge:     Hon. Edward M. Chen
23
   KAISER FOUNDATION HEALTH PLAN,                      Magistrate Judge:   Hon. Peter H. Kang
24 INC., KAISER FOUNDATION HOSPITALS,
   and KAISER FOUNDATION HEALTH                        CAC Filed:          December 6, 2024
25 PLAN OF WASHINGTON,                                 Trial Date:         January 25, 2027
26                Defendants.
27

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                                                                           Case No. 3:23-cv-02865-EMC
                                                                                  JOINT STATUS REPORT
 1          Pursuant to the October 30, 2024 Order (ECF No. 254), John Doe, John Doe II, John Doe

 2 III, Jane Doe, Jane Doe II, Jane Doe III, Jane Doe IV, Jane Doe V, and Alexis Sutter (collectively,

 3 the “Plaintiffs”) and Defendants Kaiser Foundation Health Plan, Inc., Kaiser Foundation Hospitals,

 4 and Kaiser Foundation Health Plan of Washington (collectively “Kaiser” or “Defendants”) (and

 5 together with Plaintiffs, the “Parties”), hereby submit their Joint Status Conference Statement in

 6 advance of the February 11, 2025 Conference.

 7       A. Consolidated Master Class Action Complaint and Case Schedule

 8          On December 6, 2024, Plaintiffs filed their Consolidated Master Class Action Complaint
 9 (ECF No. 271) (“Master Complaint”). The Master Complaint consolidates the claims brought by

10 Plaintiffs in Doe v. Kaiser Foundation Health Plan, Inc. Case No. 3:23-cv-02865 (N.D. Cal.) with

11 other claims brought by new plaintiffs who filed new complaints and/or were subsequently added

12 as new plaintiffs to the Master Complaint after this Court granted in part and denied in part Kaiser’s

13 Motion to Dismiss Plaintiffs’ First Amended Complaint on April 11, 2024 (ECF No. 124) pursuant

14 to this Court’s consolidation Order (ECF No. 233). Specifically, the Master Complaint includes a

15 new plaintiff from Colorado, John Doe III, and Virginia resident Alexis Sutter. Additionally, on

16 August 27, 2024, the Court had also previously granted Doe Plaintiffs’ Rule 23(g) Motion and

17 appointed Kessler Topaz Meltzer & Check (“Kessler Topaz”) and Carella, Byrne, Cecchi, Olstein

18 Brody & Agnello (“Carella Byrne”) as interim co-lead class counsel (“Interim Class Counsel”) for

19 the putative classes. (ECF No. 233).

20          On January 28, 2025, this Court entered as modified the Parties’ Joint Stipulation setting,
21 inter alia, a January 28, 2025 deadline for Kaiser to move to dismiss or compel arbitration, an

22 August 29, 2025 deadline for Plaintiffs’ motion for class certification, an April 15, 2026 deadline

23 for the close of fact discovery, a July 10, 2026 deadline for the close of expert discovery, and a

24 January 25, 2027 trial date. (ECF No. 299). On January 28, 2025, Kaiser moved to compel the claims

25 of California Plaintiff John Doe to arbitration, and also moved to dismiss 15 of the 22 Counts

26 brought in the Master Complaint. Plaintiffs Opposition is due March 4, 2025, Kaiser’s Reply is due

27 April 11, 2025, and argument is scheduled for May 29, 2025.

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 1       B. Discovery

 2          Discovery in this action began on October 17, 2023, following the Initial Case Management
 3 Conference (ECF No. 107). At the Court’s direction, the Parties agreed to phase discovery, with

 4 Phase I discovery focused on certain categories of information needed for mediation, and all other

 5 Phase II discovery reserved for post-mediation, in the event of an unsuccessful mediation. (ECF

 6 Nos. 77, 167). Mediation was not successful and, accordingly, discovery is now fully open. The

 7 Parties have been attending monthly in-person Discovery Management Conferences (“DMC”) with

 8 Judge Kang since October 18, 2024, with the next DMC scheduled for March 13, 2025. 1

 9          As of February 4, 2025, Kaiser has made 31 document productions consisting of a total of
10 38,405 documents and has served privilege logs associated with two of its production volumes.

11 Plaintiffs have made ten productions consisting of a total of 352 documents. Plaintiffs have not

12 served any privilege logs to date. Kaiser has also responded to interrogatories, which are part of the

13 parties’ continuing conferrals.

14          Plaintiffs are also in the process of collecting discovery from various third parties through
15 subpoenas, including: Alphabet, Inc./Google, Microsoft/Bing, X Corp./Twitter, Adobe, Quantum

16 Metric, Dynatrace, and other third-party vendors that Kaiser used for marketing.

17          The Parties have reached an agreement on ESI custodians and are currently in the process of
18 negotiating ESI keywords, and conferring on various other discovery issues.

19          To date, no depositions have been noticed or taken.
20       C. Pending Motions
21          Kaiser filed their Motion to Dismiss and Motion to Compel Arbitration on John Doe on
22 January 28, 2025. Plaintiffs’ oppositions to Kaiser’s Motions are due March 4, 2025. Kaiser’s replies

23 are due April 11, 2025 and argument is scheduled for May 29, 2025. No other motions are pending.

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     At the January DMC, Judge Kang took the February DMC off calendar, and has—at least for the
28 time being—switched the DMCs to occur on a bi-monthly (i.e., every other month) basis.
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 1      D. Settlement and ADR

 2        The Parties attended an in-person mediation on October 1 and 2, 2024 before the Honorable
 3 Wayne R. Anderson (Ret.) in Chicago, Illinois. However, the mediation did not result in a

 4 settlement.

 5

 6 DATED: February 4, 2025                    KESSLER TOPAZ
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12

13 Dated: February 4, 2025

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 8                                             Foundation Hospitals, and Kaiser Foundation Health
                                               Plan of Washington
 9

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11

12
                                            ATTESTATION
13
            The undersigned attests that concurrence in the filing of the foregoing document was
14
     obtained from all signatories.
15

16
     DATED: February 4, 2025
17

18                                                        /s/ Tyler S. Graden
                                                          Tyler S. Graden
19

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